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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


    In Re: COOK MEDICAL, INC., IVC FILTERS
    MARKETING, SALES PRACTICES AND                       Case No. 1:14-ml-2570-RLY-TAB
    PRODUCTS LIABILITY LITIGATION                        MDL No. 2570


    This Document Relates to All Actions


                                PARTIES’ ORDER
                    REGARDING CASE CATEGORIZATION AND CENSUS

          Pursuant to the Court’s Order on the Cook Defendants’ Motion for Screening Order and

   Bellwether Plan (Doc. 9322), the parties conferred on the procedure and timeline necessary to

   accomplish the Court’s directive regarding case categorization and preparation of the census. The

   Court having considered the proposal, and being duly advised, sets the following deadlines:

   A.     Case Categorization

          Plaintiffs shall categorize their cases in Categories Nos 1-7 by December 22, 2018. The

   categorization shall be made using the form attached hereto as Exhibit A. The instructions therein

   must be followed, or the submission may be rejected as non-compliant.

   B.     Census

          Cook shall compile the categorization submissions made by Plaintiffs and prepare a census

   by January 31, 2019. The census shall report only the “highest” category for any plaintiff that

   marks, and supports with specific medical records, multiple categories in the categorization form.

          SO ORDERED this 21st day of November 2018.




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    to Registered Counsel of Record.
